
THE prisoner was indicted in May, 1789, at the District Court of Dumfries, for feloniously counterfeiting and coining sundry pieces of base coin of the similitude of dollars, and concluded “ against the form of an “ act of the General Assembly of Virginia in that case “ made and provided, &amp;c.”
The jury rendered a verdict as follows: “ If the court “ shall be opinion that an ordinance of the General Con- “ vention, intituled ‘ An ordinance making it felony to “ counterfeit the continental paper currency, and for “ other purposes therein mentioned,’ ordained in the “ year 1776, in law is an act of the General Assembly, “ as recited in the indictment, then we find John Whea- *10“ land guilty of the felony as in the indictment is alleg-44 ed, otherwise we find him not guilty.”
The matter of law arising on this verdict being adjourned, the General Court, consisting of Mercer, Parker, Cary, Tyler, Bullitt and Tucker, on the 23d June, 1789, certified it to be their opinion that the law was for the defendant.
